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                           Exhibit 1
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                              THE SECRETARY OF THE INTERIOR
                                      WASHINGTON


                                       NOV 22 2022


The Honorable Brian P. Kemp
Governor of Georgia
Atlanta, Georgia 30334

Dear Governor Kemp:

On behalf of the Department of the Interior (Department), I write to express serious concerns
regarding proposed mining activities that have the potential to negatively impact the Okefenokee
Swamp ecosystem and Okefenokee National Wildlife Refuge. A proposed titanium dioxide mine
in the Okefenokee ecosystem and adjacent to the refuge is currently being evaluated by the State
of Georgia’s permitting authorities. I strongly recommend that the State of Georgia not move
ahead with approval for this proposed mine in order to ensure that the swamp and refuge are
appropriately protected, consistent with all appropriate legal processes.

The Department has a profound interest in protecting the health and integrity of the swamp
ecosystem. Home to the refuge, it is a unique wetland ecosystem unlike any other found in
North America and is one of the world’s most hydrologically intact freshwater ecosystems.

The refuge is the 16th most visited in the Nation, welcoming more than 400,000 visitors
annually. The swamp has received numerous designations, including that of National Natural
Landmark by the National Park Service in 1974 and Wetland of International Importance by the
Ramsar Wetlands Convention in 1986. Also, the refuge is under consideration for nomination as
a UNESCO World Heritage site due to its unique and intact hydrology and ecology.

In addition to the risks the proposed mine could have on the ecosystem, the Department is deeply
concerned about the potential impacts to cultural values that may also be affected. The swamp is
also part of the Muscogee (Creek) Nation ancestral homeland and is recognized as a significant
and important Traditional Cultural Property. Current Tribal members recognize that the Trail
Ridge landscape feature, which is included within the proposed mining boundary, was likely
used as a travel corridor by their ancestors. Past settlements and burial mounds have been
documented on other portions of Trail Ridge and are suspected to exist within the project
boundary. Mining on the Trail Ridge feature could irrevocably impact these culturally important
resources.

The proposed mining activity in this area poses an unacceptable risk to the long-term hydrology
and future of the swamp ecosystem and these cultural values. The U.S. Fish and Wildlife Service
has communicated these concerns before and intends to submit further information outlining
these serious consequences if the State moves forward with the permitting process. We are not
alone in this assessment, as some of the preeminent experts on this ecosystem and hydrology at
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the University of Georgia have also raised the alarm about the threat that this type of mining
activity in this area poses to the swamp.

Conserving natural and cultural resources for the American people is a profound obligation of
the Department. I had the privilege of visiting the refuge in September to experience the wonder
of this unique ecosystem and hear the incalculable value that Georgians and the Muscogee
(Creek) Nation place on its long-term health. The Department will exercise its own authorities to
protect the swamp ecosystem and will continue to urge our State and Federal partners to take
steps under their own authorities to do the same. The swamp ecosystem is a treasure for the
people of Georgia, our Nation, and the world. Thank you for your careful consideration of the
Department’s views on this important matter, and I look forward to working with you to ensure
that the swamp ecosystem is protected for future generations.

                                             Sincerely,




                                             Deb Haaland


Enclosures
